
In re Epps, Leon; — Plaintiffs); applying for supervisory and/or remedial writs; Parish of Iberville, 18th Judicial District Court, Div. “B”, No. 2807-84; to the Court of Appeal, First Circuit, No. KW96 1811.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189; State ex rel. Stepter v. Whitley, 93-2346 (La. 10/13/95), 661 So.2d 480; State *975ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172.
CALOGERO, C.J., not on panel.
